Case 9:18-cv-80176-BB Document 1085 Entered on FLSD Docket 06/05/2024 Page 1 of 3




                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA


   IRA KLEIMAN, as the personal
   representative of the Estate of David
   Kleiman, and W&K Info Defense Research,
   LLC
                                                          Case No. 9:18-cv-80176-BB/BR
                        Plaintiffs,

              vs.

   CRAIG WRIGHT

                        Defendant.

                    W&K’s Unopposed Motion Stay Deadline for Motion for Fees

          Judgment-Creditor/Plaintiff W&K Info Defense Research, LLC requests the Court stay the

  deadline under Local Rule 7.3(b) to file its motion for fees until two weeks after the appearance of

  new counsel for Wright.

             1. On May 28, 2024, this Court granted a two-week extension for W&K to file its

  motion for fees awarded in connection with the Court’s Judgment-Debtor Wright in civil contempt.

  ECF No. 1083.

             2. Since then, Wright’s counsel has filed a motion to withdraw.

             3. Accordingly, in the interest of facilitating a resolution that does not require court

  intervention, W&K requests that the Court stay the deadline for W&K to file its motion for fees

  until two weeks after the appearance of new counsel for Wright, or until W&K moves to lift the

  stay.

             4. Counsel for Wright represented he does not oppose this motion.
Case 9:18-cv-80176-BB Document 1085 Entered on FLSD Docket 06/05/2024 Page 2 of 3




         For the reasons stated above, W&K therefore respectfully request that the Court stay the

  deadline to file its fee motion until two weeks after the appearance of new counsel for Wright.

                              S.D. FLA. L.R. 7.1 CERTIFICATION

         Pursuant to S.D. Fla. L.R. 7.1(a)(3), counsel for the movant has conferred with counsel

  for Defendant, who advised Defendant does not oppose the relief sought in this motion.


   Dated: June 5, 2024                         Respectfully submitted,

                                               By: /s/ Velvel Devin Freedman
                                               Velvel (Devin) Freedman, Esq.
                                               FREEDMAN NORMAND FRIEDLAND LLP
                                               1 SE 3rd Ave., Suite 1240
                                               Miami, Florida 33131
                                               vel@fnf.law

                                               Joseph Delich
                                               Stephen Lagos
                                               FREEDMAN NORMAND FRIEDLAND LLP
                                               10 Grand Central
                                               155 E. 44th Street, Suite 905
                                               New York, New York 10017
                                               jdelich@fnf.law
                                               slagos@fnf.law

                                               Stephen N. Zack
                                               Andrew S. Brenner
                                               Laselve E. Harrison
                                               BOIES SCHILLER FLEXNER LLP
                                               100 SE 2nd Street, Suite 2800
                                               Miami, Florida 33131
                                               abrenner@bsfllp.com
                                               szack@bsfllp.com
                                               lharrison@bsfllp.com

                                               Maxwell V. Pritt
                                               BOIES SCHILLER FLEXNER LLP
                                               44 Montgomery Street, 41st Floor
                                               San Francisco, CA 94104
                                               Telephone: (415) 293-6869
                                               Facsimile: (415) 293-6869
                                               mpritt@bsfllp.com


                                                  2
Case 9:18-cv-80176-BB Document 1085 Entered on FLSD Docket 06/05/2024 Page 3 of 3




                                     Counsel to Plaintiffs Ira Kleiman as
                                     Personal Representative of the Estate of
                                     David Kleiman and W&K Info Defense
                                     Research, LLC.




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